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                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NEW YORK
_______________________________________

UNITED STATES OF AMERICA,
                                                  SENTENCING GUIDELINE ORDER

-vs-
                                                  CASE NO. 21-CR-6100
RYAN HOWE a/k/a RYLEA AUTUMN,

                           Defendant.
_______________________________________

ASSISTANT U.S. ATTORNEY
                                  Brett Harvey


DEFENSE ATTORNEY
                                  Steven Slawinski


INTERPRETER (YES or NO)
                                  No


PLEA DATE
                                  June 24, 2021


SENTENCING DATE
                                  October 4, 2021 at 10:15 a.m.


INITIAL PSR DUE
                                  August 20, 2021
                                  (45 DAYS PRIOR TO SENTENCING*)


STATEMENT OF PARTIES, AND
OBJECTIONS (IF ANY), AND
MOTIONS (IF ANY) DUE (IF THERE
ARE NO OBJECTIONS, COUNSEL ARE
DIRECTED TO FILE A STATEMENT
INDICATING THIS)
                               September 10, 2021
                               (24 DAYS PRIOR TO SENTENCING*)

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RESPONSES TO OBJECTIONS
MOTIONS DUE
                                   September 20, 2021
                                   (14 DAYS PRIOR TO SENTENCING*)

5K1.1 APPLICATION, IF ANY, DUE
                                   September 24, 2021
                                   (10 DAYS PRIOR TO SENTENCING*)

LETTERS OR SIMILAR
SUBMISSIONS DUE
                                   September 24, 2021
                                   (10 DAYS PRIOR TO SENTENCING*)

FINAL PSR DUE
                                   September 27, 2021
                                   (7 DAYS PRIOR TO SENTENCING*)


*This refers to the sentencing date originally set by the Court or if the
Court grants an adjournment, the date to which sentencing has been
adjourned. That is, whatever the sentencing date, the time requirements
apply. ANY SUBMISSIONS NOT IN COMPLIANCE WITH THIS ORDER
WILL NOT BE CONSIDERED.

NOTE: MOTIONS FOR EXTENSION OF TIME ARE DUE TWO (2) BUSINESS DAYS
      PRIOR TO ANY DEADLINE

NOTE: IF ANY OF THE ABOVE DATES FALL ON A HOLIDAY OR DAY WHEN THE
      CLERK'S OFFICE IS CLOSED, THE DUE DATE IS THE NEXT BUSINESS DAY

     IT IS SO ORDERED.

Dated: Rochester, New York
       June 24, 2021

                                   ENTER:



                                   _______________________________
                                   CHARLES J. SIRAGUSA
                                   United States District Judge



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